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                    EXHIBIT 1
                                      to

 PLAINTIFFS’ RESPONSE TO WEXFORD HEALTH SOURCES,
    INC.’S MOTION FOR RECONSIDERATION (Dkt. 666)

                               filed under seal
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